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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS

                                       MDL No. 2867
IN RE:                                 No. 18 C 6785
LOCAL TV ADVERTISING ANTITRUST
LITIGATION                             Honorable Virginia M. Kendall




OPPOSITION OF DEFENDANTS NEXSTAR, SCRIPPS, RAYCOM, AND TEGNA TO
 PLAINTIFFS’ DISCOVERY MOTION NO. 5: MOTION TO COMPEL NEXSTAR,
   SCRIPPS, RAYCOM, AND TEGNA TO PRODUCE ANTITRUST/BUSINESS
                    COMPLIANCE DOCUMENTS
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                                        INTRODUCTION

       Plaintiffs seek to compel Defendants Nexstar Media Group Inc. (“Nexstar”), Gray Media

Group (formerly known as Raycom Media, Inc.) (“Raycom”), The E.W. Scripps Company

(“Scripps”), and TEGNA, Inc. (“TEGNA”) (collectively, “Defendants”) to produce documents

protected by the attorney-client privilege. ECF No. 688 (“Motion” or “Mot.”). Plaintiffs justify

their latest motion to compel with blanket claims that certain documents categorically cannot be

privileged and must be produced. It is well-settled, however, that courts evaluate privilege claims

on a document-by-document basis. In each case, the documents Plaintiffs seek to compel

constitute clear legal advice protected by the attorney-client privilege.

       First, despite Plaintiffs categorical assertion that “Antitrust Policies Are Not Privileged,”

Mot. at 10, courts have held that communications related to an organization’s antitrust policies are

privileged where they provide legal advice or reveal client confidences. Second, Plaintiffs’

emphasis on Defendants’ dissemination of certain documents (Mot. at 11-14) is insufficient to

waive privilege because Defendants disseminated privileged communications to only their own

employees directly concerned with the subject matter. Third, each Defendant’s documents convey

legal advice protected by the attorney-client privilege and, thus, production should not be

compelled. Despite Plaintiffs’ speculative attempts to characterize the disputed documents as

business policies, Defendants have properly asserted privilege over documents conveying legal

advice and client confidences.

       Defendants’ assertions of privilege are proper and adequately described in their privilege

logs. But that legal question is not really the point of Plaintiffs’ Motion, which is instead part of

Plaintiffs’ now four-year-old strategy to impose enormous expense on Defendants and delay

efficient administration of this case. Most recently, Plaintiffs have waited until the tail-end of a

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long discovery period to flood the Court with motions to compel, ECF Nos. 649, 656, 674, 677,

688, in a misplaced effort to further extend the discovery schedule. ECF Nos. 510, 648. Plaintiffs

also unilaterally seek to subvert the parties’ carefully negotiated agreement regarding custodians

and the relevant time period for document discovery, seek production of voluminous additional

documents, and seek Court approval to take 1,050 hours of depositions. ECF No. 647, 674.

       Defendants request that this Court deny Plaintiffs’ Motion because it fails to establish that

any of Defendants’ antitrust compliance documents are not privileged or should be produced.

                                      LEGAL STANDARD

       The purpose of attorney-client privilege is “to encourage full and frank communication

between attorneys and their clients and thereby promote broader public interests in the observance

of law and administration of justice.” Upjohn Co. v. United States, 449 U.S. 383, 389 (1981). The

invoking party establishes the privilege: “(1) Where legal advice of any kind is sought (2) from a

professional legal adviser in his capacity as such, (3) the communications relating to that purpose,

(4) made in confidence (5) by the client, (6) are at his instance permanently protected (7) from

disclosure by himself or by the legal adviser, (8) except the protection be waived.” United States

v. White, 950 F.2d 426, 430 (7th Cir. 1991). Privilege claims must be made and resolved on a

“question-by-question or document-by-document basis.” Id.; Certain Underwriters at Lloyds v.

Fid. & Cas. Co. of N.Y., No. 89 C 0876, 1997 WL 769467, at *2 (N.D. Ill. Dec. 9, 1997) (noting

the impropriety of “blanket claims of whether the group of documents are or are not privileged”).

       Solely business advice is not protected by attorney-client privilege, but “[t]he attorney-

client privilege protects an attorney’s ‘legal advice about a business decision.’” Crabtree v.

Experian Info. Sols., Inc., No. 1:16-CV-10706, 2017 WL 4740662, at *2 (N.D. Ill. Oct. 20, 2017);




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see also Medline Indus., Inc. v. C.R. Bard, Inc., No. 14 C 3618, 2019 WL 12528942, at *2 (N.D.

Ill. July 17, 2019) (“legal advice that considers business issues is still legal advice”).

         “[C]ommunications between non-lawyer employees often warrant protection from

disclosure.” Crabtree, 2017 WL 4740662, at *2; see also Doe v. Johnson, No. 15 C 1387, 2015

WL 12834771, at *2 (N.D. Ill. Nov. 23, 2015) (“[c]onfidential communications by non-lawyers ...

for the purpose of assisting the lawyers to provide legal advice are also protected by the attorney-

client privilege.”). The attorney-client privilege “turns on whether the communications rest on

confidential information obtained from the client, or would reveal the substance of a confidential

communication by the client.” Crabtree, 2017 WL 4740662, at *2. “[D]irect lawyer involvement

is not required for the privilege to attach” but “a lawyer must have some relationship to the

communication such that the communication(s) between the non-lawyer employees would reveal,

directly or indirectly, the substance of a confidential attorney-client communication.” Id. at *2.

                                            ARGUMENT

I.       The Antitrust Compliance Documents That Defendants Withheld Are Protected By
         Attorney-Client Privilege.

         Plaintiffs’ Motion attempts to characterize antitrust compliance policies and guidance as

“per se” not privileged, stating definitively that “Antitrust Polices Are Not Privileged.” Mot. at

10. Plaintiffs’ incorrect attempt to categorically preclude certain documents from privilege

protection ignores that claims of privilege are “sustained on a question-by-question or document-

by-document basis.” White, 950 F.2d at 430. “[B]lanket claims of whether [a] group of documents

are or are not privileged” are not appropriate. Certain Underwriters, 1997 WL 769467, at *2.

         Courts have found documents related to antitrust compliance policies to be privileged. In

In re Brand Name Prescription Drugs Antitrust Litig., the court held that a “presentation describing

the application of the antitrust laws to specific aspects of [the defendant]’s business” was
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“privileged as it provides legal advice and reveals client confidences regarding certain of [the

defendant]’s business practices.” No. 94 C 897, 1996 WL 5180, at *2 (N.D. Ill. Jan. 3, 1996).

Similarly, in In re Blue Cross Blue Shield Antitrust Litig, the court held that an “Antitrust

Compliance document” that “reflect[ed] the attorney’s legal advice on the issue of how to run

[defendant’s business] consistent with antitrust laws” was privileged because “it reflect[ed] a

‘confidential communication[ ] between an attorney and his client relating to a legal matter for

which the client has sought professional advice. No. 2:13-CV-20000-RDP, 2017 WL 9807442, at

*6 (N.D. Ala. Aug. 31, 2017).

       Plaintiffs’ Motion relies heavily on In re Sulfuric Acid Antitrust Litig., 235 F.R.D. 407

(N.D. Ill. 2006) (“Sulfuric Acid I”), supplemented, 432 F. Supp. 2d 794 (N.D. Ill. 2006) (“Sulfuric

Acid II”) to assert that antitrust compliance polices are per se not privileged. Mot. at 10-11. But

Sulfuric Acid I cited Brand Name Prescription Drugs as “a straightforward application of basic

attorney-client privilege principles to an obvious and uncomplicated situation.” Sulfuric Acid I,

235 F.R.D. at 431. Plaintiffs argue that documents related to antitrust guidance presentations are

categorically not privileged, Mot. at 13-14, but their own cited authority concluded that such

materials are “obvious and uncomplicated” examples of attorney-client privilege. Id. Plaintiffs’

own cited authority contradicts their assertion that antitrust compliance policies and guidance

materials are per se not privileged and other authority holding that such materials are privileged.

II.    The Antitrust Compliance Documents That Defendants Disseminated Internally To
       Directly Concerned Employees Fall Within Attorney-Client Privilege Protection.

       Plaintiffs’ Motion focuses on the alleged broad internal distribution of the disputed

documents as an indication that the materials cannot be privileged. Mot. at 11-12, 13. However,

“privileged emails shared with a larger number of employees are not per se non-privileged.”

Medline, 2019 WL 12528942, at *2.
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       In an earlier opinion in Brand Name Prescription Drugs the court rejected plaintiffs’

argument that the disputed documents were “disseminated widely and therefore [are] not

confidential.” No. 94 C 897, 1995 WL 557412, at *1 (N.D. Ill. Sept. 19, 1995). Noting that “it is

well settled that the dissemination” of privileged communications “to those employees directly

concerned with such matter does not waive the attorney-client privilege,” the court concluded the

disputed documents were disseminated to “directly concerned” employees and were therefore

privileged. Id.

       Plaintiffs’ argument that Defendants’ claims of privilege are “undermined” by internal

dissemination, Mot. at 11, contravenes settled law. Plaintiffs’ argument is just another attempt to

make blanket claims that certain documents are categorically not privileged, despite the fact that

privilege determinations are made on a document-by-document basis. White, 950 F.2d at 430.

III.   The Disputed Documents Convey Legal Advice Protected By The Attorney-Client
       Privilege and Should Not Be Produced.

       A. Nexstar

       There is no basis to compel production of Nexstar’s privileged compliance documents.

Nexstar has already produced the final, general antitrust policy documents identified through its

document review (see NexstarTVAds-013161885 and NexstarTVAds-007373281) to Plaintiffs on

June 6 and July 6, 2022. Nexstar withheld antitrust compliance documents only if protected by

attorney-client privilege, pursuant to the authority cited below. Despite Nexstar’s extensive meet

and confer discussions with Plaintiffs about the documents on its privilege log, and Nexstar’s good

faith and numerous attempts to compromise with Plaintiffs, Plaintiffs continue to complain about

two categories of documents: (1) antitrust policy documents sent in February 2018 that were

“widely distributed” to Tribune personnel, and (2) four documents that were drafts of corporate



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compliance policies. Mot. at 2-3. Both sets of documents are protected by privilege, which is not

vitiated by their distribution, and Plaintiffs provide no basis to compel their production.

        First, Nexstar withheld antitrust policy documents containing specific case studies or

discussing detailed hypotheticals that are therefore attorney-client privileged. See In re Domestic

Drywall Antitrust Litig., No. 13-MD-2437, 2014 WL 5090032, at *3 (E.D. Pa.. Oct. 9, 2014)

(antitrust policies that provide “specific advice” regarding compliance with antitrust laws are

entitled to privilege); Blue Cross Blue Shield, 2017 WL 9807442, at *2 (finding antitrust

compliance materials privileged when they “contain[ed] legal analysis and advice from a lawyer

on how Blue Caucus should run its meetings consistent with antitrust laws”). In contrast, Sulfuric

Acid II involved hypotheticals prepared by in-house counsel relying on “his accumulated

knowledge and understanding of antitrust law” and were not the product of any specific request

for legal advice. Sulfuric Acid II, 432 F. Supp. 2d at 797. Plaintiffs’ speculation is insufficient to

defeat Nexstar’s confirmation that the privilege attaches to these documents.

        Nor does distribution of these privileged antitrust policy documents to internal employees

defeat the assertion of privilege. As Plaintiffs concede, the documents were sent to internal email

lists comprised of, e.g., “Tribune Directors of Sales” and “Tribune General Managers” for its local

stations—not to external third parties. Mot. at 3. Transmission of attorney-client privileged

documents to only internal Tribune and Nexstar employees does not break privilege, contrary to

Plaintiffs’ insinuation.    Companies like Tribune and Nexstar, with diffuse operations and

numerous local personnel, require consistency and must disseminate legal advice to their local

operations. See Brand Name Prescription Drugs, 1995 WL 557412 at *1 (“[T]he mere fact that

more than one individual is the recipient of the communication does not strip the communication

of its confidential nature.”).

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       Plaintiffs complain that Nexstar failed to provide a list of “all persons on these email lists,”

claiming that is necessary to assess whether privilege applies to these documents, even though

Plaintiffs admit the email lists are limited exclusively to internal employees. Mot at 3. But Nexstar

informed Plaintiffs on multiple occasions that records of the historical recipients of Nexstar and

Tribune internal email lists do not exist, and Nexstar is simply unable to recreate such historical

email lists. See Mot., Exs. 5, 7. In any event, identifying email list recipients is not necessary for

this Court to confirm that distribution of the antitrust compliance documents was exclusively

internal to Nexstar and Tribune employees.

       Second, regarding the other four Nexstar entries that are the subject of Plaintiffs’ Motion,

Nexstar properly withheld privileged drafts of corporate policies; the privilege continues to attach

to draft policies even if the final product is circulated externally. See Roth v. Aon Corp., 254

F.R.D. 538, 541 (N.D. Ill. 2009) (“[M]ost courts have found that even when a final product is

disclosed to the public, the underlying privilege attached to drafts of the final product remains

intact.”); In re Air Crash Disaster at Sioux City, Iowa on July 19, 1989, 133 F.R.D. 515, 518 (N.D.

Ill. 1990) (“[S]imply because a final product is disclosed to the public (or a third person), an

underlying privilege attaching to the drafts of the final product is not destroyed.”). For example,

in Exhibits 14 and 15 to Plaintiffs’ Motion, Angela Betasso, Tribune’s Senior Vice President of

Sales, explains she will “finalize” the attached policy and guideline documents the following

month, after internal review by in-house counsel.         See Mot., Exs. 14, 15 (NexstarTVAds-

010656236; NexstarTVAds-010656212). And as above, (see supra at II), distribution of the

document to 30 internal recipients in no way vitiates the privilege. Plaintiffs’ reliance on Domestic

Drywall to claim otherwise is misplaced; the policy at issue there was final, made available to 120




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employees at a training seminar, and posted on an internal Internet site for broad access. Domestic

Drywall, 2014 WL 5090032, at *4.

       B. Raycom

       Plaintiffs demand production of a Raycom document titled “2018.02.22.Pacing and

Competitive Information Guidance.pdf” (“GMG_PL_000729”), even though it is plainly covered

by attorney-client privilege. GMG_PL_000729 contains “confident[ial]” “legal advice” from

Raycom’s “professional legal adviser[s]” to certain client employees, and Raycom has not

“waive[d]” privilege. Radiant Burners, Inc. v. Am. Gas Ass’n, 320 F.2d 314, 319 (7th Cir. 1963)

(en banc), cert. denied, 375 U.S. 929 (1963); Sulfuric Acid I, 235 F.R.D. at 425 (legal “advice” on

“antitrust laws” and related “legal ramifications ... are privileged”); Weeks v. Samsung Heavy

Indus., Ltd., 1996 WL 288511, at *2 (N.D. Ill. May 30, 1996) (“[A] matter committed to a

professional legal adviser is prima facie so committed for the sake of legal advice ... and [] within

the privilege unless it appears to be lacking in aspects requiring legal advice.”).

       Plaintiffs’ argument hinges on three contentions, all of which lack merit.

       First, Plaintiffs presume the term “guidance” in a document’s title negates its privileged

status because, in their misplaced view, any such document is necessarily a non-privileged

“instructional guide” intended for “broad use and dissemination.” Mot. at 12. As Raycom has

repeatedly explained to Plaintiffs, their position rests on a fundamental misunderstanding of the

underlying facts: GMG_PL_000729 is not an “instructional guide” or general antitrust policy, nor

does it contain “business and financial advice.” Mot. at 9. Rather, it is a memorandum containing

“client confidences” and “legal advice” from Raycom’s general counsel and outside counsel to

certain Raycom employees regarding legal ramifications associated with specific “business

practices.” Brand Name Prescription Drugs, 1996 WL 5180, at *2 (A document “is privileged as

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it provides legal advice and reveals client confidences regarding certain of [the client’s] business

practices”); see Crabtree, 2017 WL 4740662, at *2 (“The attorney-client privilege protects an

attorney’s ‘legal advice about a business decision.’”); Valassis Commc’ns, Inc. v. News Corp.,

2018 WL 4489285, at *3 (S.D.N.Y. Sept. 19, 2018) (same). Contrary to Plaintiffs’ speculation,

Mot. at 10 & 12, the document was not “distributed to all employees” of the company as a generic

“antitrust compliance manual” like in Sulfuric Acid I., 235 F.R.D. at 320, nor does it contain

“hypotheticals” like in Sulfuric Acid II., 432 F. Supp. 2d at 796. By contrast, GMG_PL_000729

constitutes specific legal instructions provided to certain Raycom corporate and sales employees,

precisely because the subject matter of the legal advice directly concerned them and they were

imminently “in a position to act” pursuant to that advice. Valassis Commc’ns, 2018 WL 4489285,

at *3. As such, the document is privileged.

       Second, Plaintiffs assert that “[t]he fact that the document was produced from Raycom’s

‘Corporate’ custodial files suggest[s] that it was intended for broad use and dissemination.” Mot.

at 4. In reaching this flawed conclusion, Plaintiffs misconstrue Raycom’s “Corporate” custodian

metadata label, which merely indicates the document in question was collected from Raycom’s

corporate files (here, its corporate legal department), as opposed to the files of Raycom’s 58 named

custodians. It should not surprise Plaintiffs that a document with legal advice prepared by

Raycom’s senior corporate legal officer originates from Raycom’s “Corporate” records. Indeed,

individual Raycom stations did not have their own in-house lawyers; all in-house legal advice

originated from its corporate legal department. And yet, without any case law support, Plaintiffs

invite this Court to upend longstanding privilege doctrine by holding that any document, by virtue

of its corporate origin, “suggests” that the company has disclaimed its otherwise valid assertion of

privilege. Mot. at 4. Plaintiffs’ radical proposition should be rejected.

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         Third, Plaintiffs posit that Raycom waived privilege over GMG_PL_000729 because “the

same or similar document is listed on TEGNA’s privilege log.” Mot. at 4 (emphasis omitted). But

Plaintiffs’ motion conveniently neglects to furnish crucial context for the Court that easily disposes

of Plaintiffs’ argument: The related document on TEGNA’s privilege log originates from a

specific employee of KWES—a local broadcast station in the Odessa/Midland DMA, which

Raycom previously owned and operated and, in late 2018, sold to TEGNA.1

         It is well-established that “the authority to assert or waive the attorney-client privilege

transferred to [the broadcaster]” that “purchased [the subsidiary station’s] operations” and

“continue[d] to operate [KWES].” Am. Int’l Specialty Lines Ins. Co. v. NWI-I, Inc., 240 F.R.D.

401, 406 (N.D. Ill. 2007); Medcom Holding Co. v. Baxter Travenol Lab’ys, Inc., 689 F. Supp. 841,

841 (N.D. Ill. 1988) (“[A]cquiring corporation control[s] subsidiary’s privilege with respect to

attorney-client communications occurring prior to and relating to sale of subsidiary.”). As is

apparent from Raycom and TEGNA’s document productions, TEGNA custodian Andy Fagen was

a Raycom sales employee at KWES at the time he received the confidential legal advice from

Raycom’s counsel in early 2018. Upon Raycom’s sale of KWES in late 2018, Mr. Fagen remained

at KWES and became a TEGNA sales employee. Accordingly, TEGNA assumed ownership over

all the KWES station’s privileged documents, including GMG_PL_000729. Plaintiffs concede

that TEGNA has asserted attorney-client privilege over the inherited document, Mot. at 4, thereby

reaffirming its privileged status.

         C. Scripps




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  See Press Release: TEGNA to Acquire the Leading Television Stations WTOL in Toledo, OH, and KWES in
Odessa-Midland, TX, TEGNA Inc. (August 20, 2018), https://www.tegna.com/tegna-to-acquire-the-leading-
television-stations-wtol-in-toledo-oh-and-kwes-in-odessa-midland-tx/
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          Plaintiffs complain about three categories of Scripps documents: (1) emails with the subject

“Please read and share: Antitrust policy,” (2) the two “antitrust presentations” (“Anti Trust 6-7-

11.ppt” and “GMS Presentation Dallas 11-4-15(v3).pptx”) and (3) “Manager in the Law Training”

presentations. Mot. at 5-6. These documents fall squarely within the attorney-client privilege.

          The first two categories of documents—the “Please read and share: Antitrust policy”

emails and the two “antitrust presentations”2—are not, as Plaintiffs argue, Scripps’ antitrust policy,

which Scripps already produced (at SCR-000886445-52). As Scripps has explained to Plaintiffs,

the documents are privileged communications conveying legal advice rendered or given by

Scripps’ in-house counsel, Dave Giles about that policy or about regulatory compliance to help

Scripps employees comply with the antitrust policy and applicable regulations. See Rankie Decl.

¶ 35, Ex. 31 at 10 and n.30; id. at ¶¶ 37-38, Exs. 32, 33, 34 (Privilege Log Description column).

The same is true for the third category of documents, i.e., the “Manager in the Law Training”

presentations (and emails transmitting same), that Plaintiffs incorrectly claim are “generalized

corporate compliance materials that serve as basic reference guides for employees.” Mot. at 6. As

Scripps explained, “[t]hese are not final policies or manuals but rather they are: a communication

reflecting legal advice regarding ethics training; and a presentation reflecting that legal advice”

prepared by Scripps’ in-house counsel and given to employees who needed such legal advice.

Rankie Decl. ¶ 35, Ex. 31 at 10; id. ¶ 40, Ex. 37 (Privilege Log Description column); Mot. at 6

(recognizing the “Manager and the Law Training” presentations were likely mandatory for

Scripps’ managers and leadership). These confidential communications and presentations were

“primarily” sent to provide legal advice to Scripps employees who needed that legal advice (e.g.

Scripps employees, managers, and station sales teams), and the attorney client privilege plainly


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    See Rankie Decl. ¶ 37, Ex. 32; id. ¶ 38, Exs. 33, 33A, 33B, 33C, 33D, and 33E; id. ¶ 39, Ex. 34.
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applies. See Motorola Sols., Inc. v. Hytera Comm’ns Corp. Ltd., 2021 WL 5083758, at *4 (N.D.

Ill. Nov. 2, 2021) (“[t]he central inquiry is not who possessed a communication, but whether it

primarily requests or gives legal advice”).3

         All three categories of emails and presentations were distributed to Scripps employees

only—not to outside third parties—a critical fact that Plaintiffs do not dispute. Mot. at 13.4 Rather,

Plaintiffs seek production of these documents because they were “broadly distributed” to Scripps

employees. Id. But “[t]here is no rule of law … that puts a numerical upper limit on the number

of corporate employees who can be within the sphere of privilege.” Muro v. Target Corp., 250

F.R.D. 350, 364 (N.D. Ill. 2007) (citing Upjohn, 449 U.S. at 394). “It is not implausible to believe

that employees might receive legal advice from in-house counsel and disseminate it among

themselves.” Washtenaw Cnty. Employees' Ret. Sys. v. Walgreen Co., No. 15 C 3187, 2020 WL

3977944, at *4 (N.D. Ill. July 14, 2020). This is especially true where, as here, (1) station

VPs/general managers received legal advice from Dave Giles that Scripps intended Scripps’

Directors of Sales to share with their sales teams5 (document categories one and two); and (2)

directors/managers of human resources disseminated in-house counsel’s legal advice regarding

ethics and employment discrimination to appropriate managers or leadership members (document


3
  See In re CV Therapeutics, Inc. Sec. Litig., No. C-03-3709 SI(EMC), 2006 WL1699536, at *4 (N.D. Cal.
June 16, 2006) (“[t]he attorney-client privilege protects documents which ‘involve . . . self-initiated attorney
communications intended to keep the client posted on legal developments and implications’”).
4
  See also Rankie Decl. ¶ 35, Ex. 31 at 9 (“each of the distribution lists referenced in the Log contained
only Scripps employee email addresses” and “the titles of the distribution lists indicate which group of
employees was included in that particular list (see, e.g., broadcastgeneralmanagers@scripps.com,
kshbSales@kshb.com, wcpoleadershipteam@wcpo.com)”). As their names indicate, these email lists
included Broadcast General Managers at Scripps, Sales Personnel at Scripps’ station KSHB, and the Scripps
leadership team at Scripps station WCPO and were internal to Scripps.
5
  See, e.g., Rankie Decl. ¶ 38, Ex. 33B (email from Nick Nicholson, VP/general manager at WFTS to Teresa
Morgan, director of sales at WFTS, instructing Teresa Morgan to “make sure all of our sale managers and
[account executives] understand our [antitrust] policy” by conveying Dave Giles’ legal advice regarding
the antitrust policy); id. ¶ 38, Ex. 33D (same, but an email from Adam F. Chase, VP/general manager of
KERO-23 ABC, to Tim Harper, director of sales at KERO-23 ABC).
                                                      12
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category three).6 “The idea that [non-lawyer employees] may not communicate the legal advice

to each other by email without exposing the advice to civil discovery is hardly in furtherance of

the corporation’s ability to have full and frank consultation with counsel.” Washtenaw, 2020 WL

3977944, at *4. Despite Plaintiffs’ unsupported—and incorrect—claim that these documents

“appear to present general antitrust and other regulatory guidance,” it is abundantly clear from the

face of the redacted emails (Rankie Decl. ¶ 38, Exs. 33A-33E) and Scripps’ Supplemental Privilege

Log descriptions (id. ¶¶ 37-38, 40, Exs. 32, 33, 37) that non-lawyer Scripps employees were

conveying Dave Giles’ and/or Danyelle Wright’s legal advice regarding compliance with Scripps’

antitrust policy, regulatory compliance, and/or ethics and employment discrimination. These

documents are privileged, and Plaintiffs’ Motion must be denied.              See supra, Section I;

Washtenaw, 2020 WL 3977944, at *4, *6 (declining to review in camera emails exchanged among

non-lawyer employees where “log descriptions at issue here adequately indicate that the

communications concern ‘legal’ matters”); Id. at *5 (“The Court does not accept that the allegedly

‘wide’ distribution of these emails warrants in camera review, where there is no indication that

they were shared outside the company”); Jones v. Nat’l Council of Young Mens’ Christian Ass’ns

of the U.S., No. 09 C 6437, 2011 WL 1740122, at *1 (N.D. Ill. May 3, 2011) (denying motion to

compel presentation prepared by counsel and distributed to 27 board of directors members where

presentation summarized a study conducted for purposes of rendering legal advice and included

counsel’s mental impressions).

         D. TEGNA




6
  See, e.g., Rankie Decl. ¶ 40, Ex. 37 (email from Katherine Rawe, director of HR at WCPO, to WCPO’s
leadership team discussing and also disseminating Dave Giles and Danyelle Wright’s legal advice
regarding ethics, as given in a confidential presentation prepared by Dave Giles and Danyelle Wright).
                                                  13
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       TEGNA has already produced to Plaintiffs its non-privileged ethics and antitrust

guidelines, as Plaintiffs acknowledge and TEGNA has explained to Plaintiffs. Mot. at 7, Mot., Ex.

48 at 2. Plaintiffs’ Motion does not seek those materials, but rather seeks internal, privileged

TEGNA communications related to TEGNA’s antitrust compliance. For the following reasons,

Plaintiffs fail to demonstrate in any way that those TEGNA materials are not privileged and thus

provide no grounds for this Court to order TEGNA to produce those materials to Plaintiffs.

       First, Plaintiffs seek production of an email and attached antitrust-related talking points,

Doc. Nos. 444, 445, sent by TEGNA’s then general counsel, Todd Mayman, to TEGNA’s

Executive Vice President and Chief Operating Officer, Lynn Beall.                Mot. at 7. These

communications are classic attorney-client communications protected by privilege, and there is no

dispute that these two documents were shared only between Mr. Mayman and Ms. Beall. Mot. at

7. Plaintiffs argue, however, that the antitrust talking points were “widely distributed” at TEGNA

because Ms. Beall allegedly relied on that material during a call with TEGNA station General

Managers. Mot. at 6-7, 13-14. But Ms. Beall’s reliance on those attorney-provided talking points

in communication with General Managers does not mean the earlier Beall-Mayman email

communication was widely distributed. Even if Ms. Beall were conveying antitrust guidance from

counsel to others within TEGNA, that communication remains privileged. See Johnson, 2015 WL

12834771, at *2 (“[c]onfidential communications by non-lawyers ... for the purpose of assisting

the lawyers to provide legal advice are also protected by the attorney-client privilege.”). Plaintiffs

themselves acknowledge that Ms. Beall’s discussion with station General Managers concerned a

specific aspect of TEGNA’s business, Mot. at 6-7; Mot., Ex. 50, and not general guidance or

hypotheticals. See Brand Name Prescription Drugs, 1996 WL 5180, at *2 (presentation applying

antitrust laws to “specific aspect” of business was privileged).

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       Second, Plaintiffs seek to compel Doc Nos. 483 and 490, Mot. at 7-8, which TEGNA’s

privilege log properly describes as privileged emails sent by or at the request of counsel, Mot., Ex.

53. Plaintiffs’ assertion that the communications are non-privileged “antitrust training-related

communications” has no basis in law. Mot. at 14. As explained above, documents related to

antitrust policies and compliance are not per se precluded from privilege. See supra, at I. These

communications from counsel to a small number of TEGNA executives reflect legal advice

regarding specific aspects of TEGNA’s business and are therefore privileged. Brand Name

Prescription Drugs, 1996 WL 5180, at *2; Blue Cross Blue Shield, 2017 WL 9807442, at *6.

       Third, Plaintiffs challenge Doc Nos. 373 and 374 because “neither the sender nor the

recipients of the document are attorneys.” Mot. at 8. But “[d]irect lawyer involvement is not

required for the privilege to attach,” Crabtree, 2017 WL 4740662, at *2, and TEGNA’s privilege

log clearly identifies the attorneys with a relationship to the communications for the purposes of

attorney-client privilege and that the communication was sent by or at the request of counsel. Mot.,

Ex. 57. See also Johnson, 2015 WL 12834771, at *2 (“[c]onfidential communications by non-

lawyers ... for the purpose of assisting the lawyers to provide legal advice are also protected by the

attorney-client privilege.”). TEGNA’s employees’ communications sent at the request of counsel

and reflecting legal advice are properly protected by the attorney-client privilege.

                                          CONCLUSION

       Defendants respectfully request that this Court deny Plaintiffs’ Motion. Plaintiffs provide

no basis to challenge Defendants’ privilege designations or compel production. To the extent the

Court believes an independent examination of the disputed documents will aid the Court in

resolving this Motion, Defendants will produce the documents to the Court for in camera review.




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 24, 2022, a true and correct copy of the

foregoing was electronically filed with the Clerk of the Court using the CM/ECF system, which

will provide notice to all counsel of record.



                                                          /s/ John F. Ward
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